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EXHIBIT K
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“Sequies

Feb 6 2009
6:17PM

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In Re: Methyl Tertiary Butyl Ether ("MtBE") MDL No. 1358
Products Liability Litigation Master File C.A. No.
1:00-1898 (SAS)

This document relates to the following cases:.

City of New York v. Amerada Hess Corp., et al.
04 Civ. 3417

EXPERT SITE SPECIFIC REPORT OF MARCEL MOREAU
Marcel Moreau Associates

73 Bell Street
Portland, ME 04103

arvel Metin” February 6, 2009

Signature Date

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A listing of my publications and the cases in which I have provided deposition
and trial testimony is contained in my curriculum vitae which is attached to this report
as Appendix A.

I am being compensated for my time at the rate of $255 per hour. No portion of

my compensation is contingent upon the outcome of this litigation.

ASSIGNMENT

At the request of the Plaintiff, Marcel Moreau Associates (MMA) conducted a file review
of documents associated with certain facilities where underground storage systems
containing petroleum products were installed. The purpose of the file review was to
determine whether the origin, magnitude, and duration of releases of petroleum from

these facilities could be identified.

METHODOLOGY

MMA reviewed documents pertaining to certain facilities (Priority Sites) containing
underground petroleum storage systems identified by others to be likely sources of MtBE
contamination in the New York City water supply wells located in Queens County, New
York. Files pertaining to other underground petroleum facilities located in Queens

County were also reviewed. The data files came from the following sources:

(1) site remediation files supplied by the defendants;

(2) information obtained through Freedom of Information Act (FOIA) requests to
the New York State Department of Conservation (NYSDEC); and

(3) a contaminant inventory report purchased from Toxics Targeting, Inc. in

March 2008 and updated in October 2008.

MMA first organized the information available from these sources by street address. The

Priority Sites included 22 sites identified as likely sources of releases that may have
